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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF TEXAS
                                       EL PASO DIVISION

THE UNITED STATES OF AMERICA,                        §
STATE OF TEXAS, ex rel                               §
PAULINE MOTTS,                                       §
                                                     §
                   Plaintiffs,                       §
                                                     §
v.                                                   §      No. 3:18-CV-348
                                                     §
EAST EL PASO PHYSICIAN’S MEDICAL                     §
CENTER, LLC, d/b/a FOUNDATION                        §
SURGICAL HOSPITAL OF EL PASO,                        §
DON BURRIS, VOX INTUS, LLC,                          §
DESERT IMAGING SERVICES, L.P.,                       §
IN TANDEM SOLUTIONS GROUP, LLC,                      §
PRINCIPLE HS MANAGEMENT, LLC,                        §
d/b/a PRINCIPAL HEALTH SYSTEMS,                      §
AMERICAN INSTITUTE OF TOXICOLOGY,                    §
INC., CONCORD LIFE SCIENCES, LLC,                    §
AND NORTH CENTRAL FLORIDA                            §
NEURODIAGNOSTIC SERVICES, LLC,                       §
                                                     §
                   Defendants.                       §

                                    STATUS REPORT ON
                       JANUARY 3, 2022 PROTECTIVE ORDER AND STAY

TO THE HONORABLE JUDGE FRANK MONTALVO, UNITED STATES DISTRICT JUDGE:

         COME NOW, LEROY CANDELARIA, DESERT IMAGING SERVICES, L.P., IN

TANDEM SOLUTIONS GROUP, LLC, and RAUL JAIME ARIZPE (collectively, “these

Defendants”), submitting their joint status report to this Court, and would show as follows:

         1.        On January 3, 2022, this Court entered an Order Granting Unopposed Motion for

Protective Order and Request for Stay [ECF No. 43] affecting these Defendants (the “Order”). As

part of the Order, the Court requested these Defendants file a status report every 90 days from the

date of entry of the Order.




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         2.        This Report represents the second status report under the Order.

         3.        These Defendants report that, to their understanding, the criminal investigation by

the United States of America is continuing but there has been no indictment or dismissal with

respect to any of these Defendants. Consequently, the current status of such investigation with

respect to these Defendants appears to be the same as at the time of entry of the Order. It is these

Defendants' understanding that such situation may change within the next 90 days.

                                                        Respectfully submitted,

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                                                        By: /s/ Jim Darnell
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                                                        By: /s/ Jeep Darnell
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                                                             Attorneys for Leroy Candelaria




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                                                By: /s/ James A. Martinez
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                                                     Attorney for Desert Imaging and In Tandem



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                                                     Attorney for Raul Jaime Arizpe


                                 CERTIFICATE OF SERVICE

      I hereby certify that on this 1st day of July, 2022, a true and correct copy of the foregoing
document has been filed with the Clerk of this Court using the CM/ECF system which will
automatically send notification of such filing to all parties registered for service herein.

                                                           /s/ James A. Martinez




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